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 7                             UNITED STATES DISTRICT COURT
 8                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA,                 No. 2:13-CV-03548-PA-SK
12                         Plaintiff,
13                   v.
                                                ORDER DIRECTING ISSUANCE
14                                              OF WRIT OF CONTINUING
                                                GARNISHMENT
15    PATRICIA WHITLOCK AKA
      PATRICIA J. WHITLOCKHALL AKA               [SATCAL, INC]
16    PATRICIA HALL WHITLOCK AKA
      PATRICIA HALLWHITLOCK
17
18                         Defendant(s)
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22          The Court, having considered the Application of the United States of America for
23   an issuance of a Writ of Continuing Garnishment as to SATCAL,INC COMMISION,
24   with regard to defendant judgment-debtor PATRICIA WHITLOCK AKA PATRICIA J.
25   WHITLOCKHALL AKA PATRICIA HALL WHITLOCK AKA PATRICIA
26   HALLWHITLOCK, finds that the issuance of the Writ is proper under the circumstances
27   of this case,
28

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     Case 2:13-cv-03548-PA-SK Document 25 Filed 09/12/18 Page 2 of 2 Page ID #:90



 1         HEREBY ORDERS that the clerk of the Court shall issue a Writ of Continuing
 2   Garnishment with respect to SATCAL, INC in the form submitted by the Plaintiff
 3   United States of America.
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 5         DATED: September 12, 2018
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 7                                 ________________________________
 8                                 UNITED STATES DISTRICT JUDGE
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